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 7

 8   Counsel for Defendant DEPAPE
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10                             IN THE UNITED STATES DISTRICT COURT
11                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
12                                     SAN FRANCISCO DIVISION
13

14      UNITED STATES OF AMERICA,                           Case No.: CR 22–426 JSC
15                       Plaintiff,                         STIPULATION AND [PROPOSED]
                                                            ORDER TO MODIFY BRIEFING
16              v.                                          SCHEDULE
17      DAVID WAYNE DEPAPE,
18                       Defendant.
19

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21           The above titled matter is currently scheduled for a hearing on a motion to change

22   venue on May 30, 2023. The defense requires additional time to fully investigate issues

23   pertinent to the motion before it will be ready to file. The parties have met and conferred, and

24   stipulate that the briefing schedule should be modified as proposed below. This modified

25   schedule will not affect the trial date currently set for October 23, 2023:

26             •     Defense motion due by June 14, 2023;

27             •     Opposition due by July 5, 2023;

28             •     Reply (if any) due by July 12, 2023;

     [PROPOSED] STIPULATED ORDER
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 1             •   Motion hearing on July 19, 2023 at 10:00 AM.
 2           The parties further stipulate that time should be excluded from computation under the
 3   Speedy Trial Act from May 30, 2023, until July 19, 2023. The parties agree that the ends of
 4   justice served by ordering this continuance outweigh the best interest of the public and the
 5   defendants’ right to a speedy trial, and merits this exclusion of time. See 18 U.S.C. §
 6   3161(h)(7)(A). The parties further stipulate that a failure to grant the requested continuance
 7   would also deny the defense the reasonable time necessary for effective preparation, taking into
 8   account the exercise of due diligence. § 3161(h)(7)(B)(iv).
 9
               IT IS SO STIPULATED.
10

11                    April 11, 2023                     ISMAIL J. RAMSEY
                      Dated                              United States Attorney
12                                                       Northern District of California
13                                                                 /S
14                                                       LAURA VARTAIN HORN
                                                         KYLE WALDINGER
15                                                       Assistant United States Attorneys

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17                    April 11, 2023                     JODI LINKER
18                    Dated                              Federal Public Defender
                                                         Northern District of California
19
                                                                  /S
20                                                       ANGELA CHUANG
                                                         JODI LINKER
21                                                       Attorneys for David DePape
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     [PROPOSED] STIPULATED ORDER
     DEPAPE, CR 22–426 JSC
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              Case 3:22-cr-00426-JSC Document 34 Filed 04/12/23 Page 3 of 3



 1                                      [PROPOSED] ORDER
 2           For the reasons stated above, the Court VACATES the hearing currently scheduled for
 3   May 30, 2023, and continues the case to July 19, 2023, at 10:00 AM for a hearing on a motion
 4   to change venue. The Court hereby adopts the above modified briefing schedule.
 5            The Court finds that exclusion from the time limits applicable under 18 U.S.C. § 3161
 6   of the period from May 30, 2023, through July 19, 2023, is warranted and that the ends of
 7   justice served by the continuance outweigh the best interests of the public and the defendants in
 8   a speedy trial. 18 U.S.C. § 3161(h)(7)(A).
 9   IT IS SO ORDERED.
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11   DATED:                                                   _____________________________
                                                              JACQUELINE S. CORLEY
12                                                            United States District Judge
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     [PROPOSED] STIPULATED ORDER
     DEPAPE, CR 22–426 JSC
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